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      Case 3:15-cv-00783-P Document 1-3 Filed 03/10/15
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                                                                                                         DISTRICT CLERK



                                                   DC-15-01286                                   Gay Smith
                                   CAUSE NO.



    ALEJANDRO HERNANDEZ,                                        IN T H E DISTRICT COURT

    Plaintiff,
                                                           116TH-F
    vs.                                                               JUDICIAL DISTRICT

    STATE F A R M LLOYDS,

    Defendant.                                                  DALLAS COUNTY, TEXAS



             PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE


             Plaintiff, Alejandro Hernandez, files this Original Petition and Request for Disclosure

    against Defendant, State Farm Lloyds, and alleges as follows:


                                  A. DISCOVERY-CONTROL PLAN

             1.     Plaintiff intends that discovery be conducted under Level 1 and affirmatively

    pleads that this suit is governed by the expedited-actions process in Tex. R. Civ. P. 169.


                                              B. R E L I E F


             2.     Plaintiff seeks only monetary relief of $100,000 or less, including damages of

    any kind, penalties, costs, expenses, pre-judgment interest and attorney's fees. Tex. R. Civ. P.

    47(c). In addition, the total amount of monetary relief Plaintiff seeks does not exceed $75,000.


                                               C. PARTIES

             3.     Plaintiff, Alejandro Hernandez, is an individual who resides in Dallas County,

    Texas.
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        4.      Defendant, State Farm Lloyds, is a Texas domestic Lloyd's plan insurance

company that, on information and belief, is licensed to conduct the business of insurance in

Texas or has its principal place of business located in Texas. Additionally, one or more of State

Farm's "members" are citizens of Texas. It can be served with citation by serving its registered

agent for service of process, Rendi Black /co State Farm Lloyds, by certified mail, return receipt

requested, at 17301 Preston Road, Dallas, Texas 75252-5727.


                                         D. JURISDICTION

        5.      The Court has subject matter jurisdiction over the lawsuit because the amount in

controversy exceeds this Court's minimum jurisdictional requirements.


                                             E . VENUE

        6.      Venue is mandatory and proper in this district because all or a substantial part of

the events or omissions giving rise to the claim occurred in Dallas County and the insured

property that is the basis of this lawsuit is also located in that county.


                                 F. CONDITIONS PRECEDENT

        7.     A l l conditions precedent to recovery have been performed, waived, or have

occurred.


                                 G. FACTUAL BACKGROUND

       8.      Plaintiff timely paid his insurance premiums and is the holder of insurance policy

number 43-BV-B860-8 issued by Defendant.


       9.      Plaintiff owned the insured property, which is located at 2119 Boyd St., Dallas,

Texas 75224.




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        10.    Defendant or its agent sold the policy insuring the property to Plaintiff.


        11.    On or about March 2, 2014, a severe wind and hailstorm struck the Dallas, Texas

area causing severe damage to homes and businesses throughout the area, including Plaintiffs

home.


        12.    In the aftermath of the storm, Plaintiff submitted a claim to Defendant under the

policy for roof damage and water damage the home sustained as a result of the hail and wind.

Plaintiff asked that Defendant cover the cost of repairs to the property pursuant to the policy and

any other available coverages under the policy.


        13.    Defendant assigned claim number 43550N215 to Plaintiffs claim and Defendant

hired and/or assigned an adjuster to adjust the claim.


        14.    Defendant and/or its agent improperly adjusted Plaintiffs claim.             Without

limitation, Defendant's adjuster misrepresented the cause of, scope of, and cost to repair the

damage to Plaintiffs home, as well as the amount of insurance coverage for Plaintiffs loss under

the policy. Through Defendant's adjuster, Defendant made these and other false representations

to Plaintiff, either knowingly or recklessly. Defendant made these false representations with the

intent that Plaintiff act in accordance with the misrepresentations. Plaintiff relied on Defendant's

misrepresentations, including but not limited those regarding the cause of, scope of, and cost to

repair the damage to Plaintiffs home. Plaintiff has been damaged as a result of that reliance.


        15.    Because Defendant underpaid Plaintiffs claim, Plaintiff has not been able to

properly and completely repair the damage to Plaintiffs home. This has caused additional

damage to Plaintiffs home. Defendant also advised Plaintiff as to how Plaintiff could repair the




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home so at to prevent further damage. This advice, however, was false because Plaintiff could

not properly repair the home and prevent future damage by following Defendant's advice due to

Defendant's failure to pay for damages covered under the policy.


        16.     Defendant misrepresented that the damages caused by the wind and hailstorm

were only approximately $4,500. However, Defendant's misrepresentations were false because

Plaintiffs damages exceed $16,500.


        17.    Defendant failed to properly adjust the claim and Defendant has denied at least a

portion of the claim without an adequate investigation, even though the policy provided coverage

for the type of losses suffered by Plaintiff.


        18.    These false representations allowed Defendant to gain financially by wrongfully

denying at least a portion of Plaintiff s claim.


        19.    Plaintiffs claim remains unpaid and Plaintiff has not been able to properly repair

the home.


       20.     Defendant failed to perform its contractual duty to adequately compensate

Plaintiff under the terms of the policy. Specifically, Defendant failed and refused to pay the full

proceeds of the policy although a demand was made for proceeds to be paid in an amount

sufficient to repair the damaged property and all conditions precedent to recovery upon the

policy had been carried out by Plaintiff.          Defendant's conduct constitutes a breach of the

insurance contract between Defendant and Plaintiff.


       21.     Defendant misrepresented to Plaintiff that some of the damage to the home was

not covered under the policy, even though the damage was caused by a covered occurrence.



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Defendant's conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement

Practices. Tex. Ins. Code Section 541.060(a)(1).


       22.       Defendant failed to make an attempt to settle Plaintiffs claim in a fair manner,

although it was aware of its litigation to Plaintiff under the policy.       Defendant's conduct

constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices. Tex. Ins. Code

Section 541.060 (a)(2)(A).


       23.       Defendant failed to explain to Plaintiff why it offered an inadequate settlement.

Specifically, Defendant failed to offer Plaintiff adequate compensation, without any explanation

why full payment was not being made. Furthermore, Defendant did not communicate that any

future settlements would be forthcoming to pay for the entire loss covered under the policy, nor

did it provide any explanation for the failure to adequately settle Plaintiffs claim. Tex. Ins.

Code Section 541.060(a)(3).


       24.       Defendant failed to affirm or deny coverage of Plaintiffs claim within a

reasonable time.     Specifically, Plaintiff did not receive timely indication of acceptance or

rejection regarding the entire claim in writing from Defendant. Defendant's conduct constitutes

a violation of the Texas Insurance Code, Unfair Settlement Practices.             Tex. Ins. Code

541.060(a)(4).


       25.       Defendant refused to fully compensate Plaintiff under the terms of the policy even

though Defendant failed to conduct a reasonable investigation.            Specifically, Defendant

performed an outcome-oriented investigation of Plaintiffs claim, which resulted in a biased,

unfair and inequitable evaluation of Plaintiffs losses to the home.          Defendant's conduct

constitutes a violation of the Texas Insurance Code. Tex. Ins. Code 541.060(a)(7).


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        26.     Defendant failed to meets its obligations under the Texas Insurance Code

regarding timely acknowledging Plaintiffs claim, beginning an investigation of Plaintiff s claim

and requesting all information reasonably necessary to investigate Plaintiffs claim within the

statutorily mandated deadline.      Defendant's conduct constitutes a violation of the Texas

Insurance Code, Prompt Payment of Claims. Tex. Ins. Code Section 542.056.


        27.     Defendant failed to accept or deny Plaintiffs entire claim within the statutorily

mandated deadline of receiving all necessary information. Defendant's conduct constitutes a

violation of the Texas Insurance Code, Prompt Payment of Claims. Tex. Ins. Code Section

542.056.


       28.      Defendant failed to meet its obligations under the Texas Insurance Code

regarding payment of a claim without delay. Specifically, Defendant has delayed full payment

of Plaintiffs claim longer than allowed and, to date, Plaintiff has not yet received full payment

for hi claim. Defendant's conduct constitutes a violation of the Texas Insurance Code, Prompt

Payment of Claims. Tex. Ins. Code Section 542.056.


       29.      From and after the time Plaintiffs claim was presented to Defendant, the liability

of Defendant to pay the full claim in accordance with the terms of the policy was reasonably

clear. However, Defendant has refused to pay Plaintiff in full, despite there being no basis

whatsoever on which a reasonable insurance company would have relied to deny the full

payment. Defendant's conduct constitutes a breach of the common law duty of good faith and

fair dealing.


       30.      As a result of Defendant's wrongful acts and omissions, Plaintiff was forced to

retain the professional services of the attorney and law firm who are representing Plaintiff in this


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case.


                                  H. CAUSES OF ACTION


                                 B R E A C H OF CONTRACT


        31.    Plaintiff incorporates paragraphs 1 -30 as if fully set forth herein.


        32.    According to the insurance policy that Plaintiff purchased, Defendant has the

duty to investigate and pay Plaintiffs policy benefits for claims made for covered damages,

including additional benefits under the policy, resulting from the wind and hailstorm. As a

result of the wind and hailstorm and/or ensuing losses from the storm, both of which are

covered perils under the policy, Plaintiffs property has been damaged.


        33.    Defendant's failure and refusal to pay adequate compensation as it is obligated

to do under the terms of the policy and under the laws of the State of Texas, constitutes a

breach of Defendant's contract with Plaintiff. As a result of this breach of contract, Plaintiff

has suffered damages as are described in this petition.


              VIOLATION OF T H E PROMPT PAYMENT OF CLAIMS A C T


        34.    Plaintiff incorporates paragraphs 1-33 as if fully set forth herein.


        35.    Defendant's acts, omissions, failures and conduct violate Section 542 of the

Texas Insurance Code. Within the timeframe required after the receipt of either actual or

written notice of Plaintiffs claim, Defendant did not request from Plaintiff any items,

statements or forms that it reasonably believed at that time would be required from Plaintiff for

her claim. As a result, Defendant has violated Section 542 by failing to accept or reject



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Plamtiffs claim in writing within the statutory timeframe. Defendant also violated Section

542 by failing to pay Plaintiffs claim.


        36.     Defendant also violated Section 542 by failing to pay Plaintiffs claim within

the applicable statutory period. In addition, in the event it is determined Defendant owes

Plaintiff any additional monies on Plaintiffs claim, and then Defendant has automatically

violated Section 542 in this case.


                                 VIOLATIONS OF T H E DTPA


        37.     Plaintiff incorporates paragraphs 1-36 as i f fully set forth herein.

        38.     Plaintiff is a consumer of goods and services provided by Defendant pursuant to

the DTPA. Plaintiff has met all conditions precedent to bringing this cause of action against

Defendant.


        39.     Specifically, Defendant's violations of the DTPA include, without limitation,

the following matters: By its acts, omissions failures, and conduct, Defendant has violated

Sections 17.46(b)(2), (5), (7), (9), (12), (20) and (24) of the DTPA. Defendant's violations

include, without limitation, (1) its unreasonably delays in the investigation, adjustment and

resolution of Plaintiff s claim, (2) its failure to give Plaintiff the benefit of the doubt, and (3) its

failure to pay for the proper repair of Plaintiffs property for which liability had become

reasonably clear, which gives Plaintiff the right to recover under Section 17.46(b)(2).


        40.     Plaintiff is entitled to recover under Section 17.46(b)(5) of the DTPA because

Defendant represented to Plaintiff that its insurance policy and Defendant's adjusting and

investigative services had characteristics or benefits that it did not have.




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        41.    Plaintiff is entitled to recover under Section 17.46(b)(7) of the DTPA because

Defendant represented that its insurance policy and Defendant's adjusting and investigative

services were of a particular standard, quality, or grade when they were of another.


       42.     Plaintiff is entitled to recover under Section 17.46(b)(9) of the DTPA because

Defendant advertised its insurance policy and adjusting and investigative services with the

intent not to sell them as advertised.


       43.     Plaintiff is entitled to recover under Section 17.46(b)(12) of the DTPA because

Defendant represented to Plaintiff that its insurance policy and its adjusting and investigative

services conferred or involved rights, remedies, or obligations that it did not have.


       44.     Plaintiff is entitled to recover under Section 17.46(b)(24) of the DTPA because

Defendant failed to disclose information concerning goods or services which were known at

the time of the transaction and such failure to disclose was intended to induce Plaintiff into a

transaction into which the Plaintiff would not have entered had the information been disclosed.


       45.     Plaintiff is entitled to recover under Section 17.46(b)(12 and (20) and

17.50(a)(2) of the DTPA because Defendant has breached an express warranty that the damage

caused by the wind and hailstorm would be covered under the insurance policy.


       46.     Plaintiff is entitled to recover under Section 17.50(a)(3) of the DTPA because

Defendant's actions are unconscionable in that it took advance of Plaintiffs lack of

knowledge, ability and experience to a grossly unfair degree.




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        47.     Plaintiff is entitled to recover under Section 17.50(a)(4) of the DTPA because

Defendant's conduct, acts, omissions, and failures are unfair practices in the business of

insurance.


        48.     A l l of the above-described acts, omissions and failure of Defendant are a

producing cause of Plaintiff s damages as described in the petition. A l l of the above-described

acts, omissions, and failures of Defendant were done knowingly and intentionally as those

terms are used in the Texas Deceptive Trade Practices Act.


         VIOLATIONS OF SECTION 541 OF T H E TEXAS INSURANCE CODE


        49.    Plaintiff incorporates paragraphs 1-48 as i f fully set forth herein.

        50.    Plaintiff has satisfied all conditions precedent to bring this cause of action.

        51.    By its acts, omissions, failures and conduct, Defendant has engaged in unfair

and deceptive acts or practices in the business of insurance in violation of section 541 of the

Texas Insurance Code. Such violations include, without limitation all the conduct described in

this petition, plus Defendant's unreasonable delays in the investigation, adjustment and

resolution of Plaintiff s claim and Defendant's failure to pay for the proper repair of Plaintiff s

property for which liability had become reasonably clear. They further include Defendant's

failure to give Plaintiff the benefit of the doubt. Specifically, as described in Plaintiffs factual

allegations, Defendant is guilty of the following unfair insurance practices:


               a.      Engaging in false, misleading and deceptive acts or practices in the

                       business of insurance;


               b.      Engaging in unfair claims settlement practices;




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                c.     Misrepresenting to Plaintiff pertinent facts or policy provisions relating

                       to the coverage at issue;


                d.     Not attempting in good faith to effectuate a prompt, fair and equitable

                       settlement of claims submitted for which liability became reasonably

                       clear'


                e.     Failing to affirm or deny coverage of Plaintiffs claim without

                       conducting a reasonable investigation with respect to the claim; and


                f.     Failing to promptly provide Plaintiff with a reasonable explanation of

                       the basis in the insurance policy in relation to the facts or applicable law

                       for the denial of Plaintiff s claim or the offer of settlement.


       52.      Defendant also breached the Texas Insurance Code when it breached its duty of

good faith and fair dealing.


       53.      Plaintiffs damages resulted from Defendant's conduct.


       54.      Defendant's acts, omissions, and failures were done knowingly as that term is

described in the Texas Insurance Code.


             BREACH OF T H E DUTY OF GOOD FAITH AND FAIR DEALING


       55.      Plaintiff incorporates paragraphs 1-54 as i f fully set forth herein.


       55.      By its acts, omissions, failure and conduct, Defendant has breached its common

law duty of good faith and fair dealing by failing to pay the proper amounts on Plaintiffs




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entire claim without any reasonable basis and by failing to conduct a reasonable investigation

to determine whether there was a reasonable basis for the denial.


        57.       Defendant has also breached this duty by unreasonably delaying payment of

Plaintiffs entire claim and by failing to settle Plaintiffs entire claim because Defendant knew

or should have known that it was reasonably clear the claim was covered.           These acts,

omissions, failures and conduct of Defendant are a proximate cause of Plaintiff s damages.


                                I. WAIVER AND ESTOPPEL


        58.       Defendant has waived and is estopped from asserting any coverage defenses,

conditions, exclusions, or exceptions to coverage not contained in any reservation of rights

letter to Plaintiff.


                                        J . DAMAGES


        59.      The above-described acts, omissions, failures and conduct of Defendant has

caused Plaintiffs damages, which include, without limitation, the cost to properly repair

Plaintiffs property and any investigative and engineering fees incurred in the claim. Plaintiff

is also entitled to recover consequential damages from Defendant's breach of contract.

Plaintiff is also entitled to recover the amount of Plaintiffs claim plus an 18% per annum

penalty on that claim against Defendant as damages under Section 542 of the Texas Insurance

Code, plus pre-judgment interest and attorney's fees.




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                             K.        ADDITIONAL DAMAGES


       60.     Defendant has also "knowingly" and "intentionally" committed deceptive trade

practices and unfair insurance practices as those terms are defined in the applicable statutes.

Because of Defendant's knowing and intentional misconduct, Plaintiff is entitled to additional

damages as authorized by Section 17.50(b)(1) of the DTPA. Plaintiff is further entitled to

additional damages authorized by Section 541 of the Texas Insurance Code.


                             L.        E X E M P L A R Y DAMAGES


       61.     Defendant's breach of its duty of good faith and fair delaine owed to Plaintiff

was done intentionally, with a conscious indifference to the rights and welfare of Plaintiff, and

with "malice" as that term is defined in Chapter 41 of the Texas Civil Practice and Remedies

Code. These violations by Defendant are the type of conduct that the State of Texas protects in

citizens against by the imposition of exemplary damages.         Therefore, Plaintiff seeks the

recovery of exemplary damages in an amount to be determined by the finder of fact that is

sufficient to punish Defendant for their wrongful conduct and to set an example to deter

Defendant and others similarly situated from committing similar acts in the future.


                                  M.     ATTORNEY'S F E E S


       62.     As a result of Defendant's conduct, Plaintiff has been forced to retain the

undersigned attorneys to prosecute this action and has agreed to pay reasonable attorney's fees.

Plaintiff is entitled to recover these attorney's fees under Chapter 38 of the Texas Civil

Practices and Remedies Code, Sections 541 and 542 of the Texas Insurance Code, and Section

17.50 of the DTPA.




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                                    N.        JURY DEMAND


        63.     Plaintiff asserts his right to a trial by jury, under Texas Constitution Article I ,

Section 15, and makes this demand for a jury trial at least 30 days before the date this case is

set for trial in accordance with Texas Rule of Civil Procedure 216. Plaintiff tenders the fee of

$30.00 as required by Texas Government Code Section 51.604.


                            O.      REQUEST F O R DISCLOSURE


        64.     Plaintiff requests that Defendant disclose, within 50 days of the service of this

request, the information or material described in Texas Rule of Civil Procedure 194.2.


                                         P.     PRAYER


        Plaintiff prays that Defendant be cited to appear and answer herein, and that upon trial

hereof, that Plaintiff have and recover such sums as would reasonably and justly compensate

him in accordance with the rules of law and procedure, both as to actual damages,

consequential damages, treble damages under the Texas Insurance Code and Texas Deceptive

Trade Practices Act, and all punitive, additional, exemplary damages as may be found. In

addition, Plaintiff requests the award of attorney's fees for the trial and any appeal of this case,

for all costs of court, for prejudgment and post judgment interest as allowed by law, and for

any other and further relief, at law or in equity, to which he may show himself to be justly

entitled. Plaintiff affirmatively pleads that he seeks $75,000 or less in total monetary relief.




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                           Respectfully Submitted,


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                           By: /s/ Jessica Taylor
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